Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 1 of 31 PageID# 400




                                 Exhibit B
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 2 of 31 PageID# 401




From:                                         Dave Albo <DelDAlbo@house.virginia.gov>
Sent:                                         Monday, April 06, 2015 2:37 PM
To:                                           Walrath, Jennifer M.; RSpear@perkinscoie.com
Cc:                                           dave@davealbo.com
Subject:                                      RE: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                              GBL-BMK



Dear Mr. Braden & Mr. Elias:

I understand that one of the parties in Bethune-Hill v. Virginia State Board of Elections, No. 3:14-
cv-00852, currently pending in the U.S. District Court for the Eastern District of Virginia has
requested e-mails to or from me in discovery in this case. By this e-mail, I assert my Legislative
Privilege and do not authorize their transfer.

Kind Regards,

David B. Albo
House of Delegates
42nd District

From: Walrath, Jennifer M. [mailto:jwalrath@bakerlaw.com]
Sent: Wednesday, April 01, 2015 12:18 PM
To: Dave Albo
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Albo,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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addressed and may contain information that is privileged,
confidential, or protected by law. If you are not the intended
recipient you are hereby notified that any dissemination, copying
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by replying to the message and deleting it from your computer.


                                                                           1
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 3 of 31 PageID# 402
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present in this email, or any attachment, that have arisen as a result
of e-mail transmission.




                                                                         2
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 4 of 31 PageID# 403




From:                               Rob Bell <robbellgop@aol.com>
Sent:                               Tuesday, April 07, 2015 10:20 AM
To:                                 Walrath, Jennifer M.; RSpear@perkinscoie.com


Gentlemen:

Thank you for your recent letter. By this email I assert legislative privilege regarding documents in the current
case. Thank you for your attention to this, and if you have any additional questions, please let me know.

Del. Rob Bell




                                                              1
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 5 of 31 PageID# 404




From:                             betsy <delegate.carr@betsycarr.org>
Sent:                             Monday, April 06, 2015 11:54 PM
To:                               Walrath, Jennifer M.
Cc:                               Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                          Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                  GBL-BMK



Dear Jennifer Walrath, Mark Braden and Ryan Spear

I am not waiving any privilege.

Regards,
Betsy Carr

Betsy B. Carr
Member
Virginia House of Delegates
69th District
804-698-1069 (phone)
delegate.carr@betsycarr.org (email)

Mailing address:
Post Office Box 406
Richmond, Virginia 23218

Street Address:
General Assembly Building
910 Capitol Street, Room 414
Richmond, Virginia 23219




                                                             1
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 6 of 31 PageID# 405




From:                                           Mark Cole <DelMCole@house.virginia.gov>
Sent:                                           Friday, April 03, 2015 5:14 PM
To:                                             Walrath, Jennifer M.
Cc:                                             Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                                        Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                                GBL-BMK



I am asserting my legislative privilege and will not be waiving my privilege in this case.

Sincerely,
Mark L. Cole
Delegate, 88th District
Stafford, Spotsylvania, Fredericksburg, and Fauquier

District: 540-786-3402
Fax: 804-698-6788

From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Wednesday, April 1, 2015 12:15 PM
To: Mark Cole
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Cole,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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of e-mail transmission.

                                                                           1
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 7 of 31 PageID# 406




From:                                           Kirk Cox <DelKCox@house.virginia.gov>
Sent:                                           Tuesday, April 07, 2015 9:38 AM
To:                                             Walrath, Jennifer M.; Braden, E. Mark; Spear, Ryan M. (Perkins Coie)
                                                (RSpear@perkinscoie.com)
Subject:                                        Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                                GBL-BMK



I wish to assert my legislative privilege and will not be waiving my privilege in this case.

Please confirm receipt of this email.

Kirk


From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Wednesday, April 1, 2015 12:14 PM
To: Kirk Cox
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Cox,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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destroyed, arrive late or incomplete, or contain viruses. Therefore,
we do not accept responsibility for any errors or omissions that are
present in this email, or any attachment, that have arisen as a result
of e-mail transmission.




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 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 8 of 31 PageID# 407




From:                              Braden, E. Mark
Sent:                              Friday, April 10, 2015 1:54 PM
To:                                Walrath, Jennifer M.; Smith, Greer D.
Subject:                           FW: Bethune-Hill v. Virginia State Board of Elections




From: T. Scott Garrett [mailto:DelSGarrett@house.virginia.gov]
Sent: Friday, April 10, 2015 1:20 PM
To: Braden, E. Mark
Subject: Fw: Bethune-Hill v. Virginia State Board of Elections

Incorrect email address initially used. Please see below.

Delegate T. Scott Garrett, M.D.
Virginia House of Delegates, 23rd District
(434) 455-0243 - District
2255 Langhorne Road, Suite 4
Lynchburg, VA 24501
    The link ed image
    display ed. The fi
    been mov ed, ren
    deleted. Verify th
    points to the corr
    location.




From: T. Scott Garrett
Sent: Friday, April 10, 2015 1:19 PM
To: mrbraden@bakerlaw.com; melias@perkinscoie.com
Subject: Bethune‐Hill v. Virginia State Board of Elections

To Whom It May Concern,

Please be advised that I am asserting my legislative privilege with respect to e-mail communications in the
above mentioned case, as per the request in your undated letter.

Sincerely,

Delegate T. Scott Garrett, M.D.
Virginia House of Delegates, 23rd District
(434) 455-0243 - District
2255 Langhorne Road, Suite 4
Lynchburg, VA 24501




                                                             1
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 9 of 31 PageID# 408




From:                                           jesselynch39@gmail.com on behalf of Jesse T Lynch <jesse@greghabeeb.com>
Sent:                                           Tuesday, April 07, 2015 4:23 PM
To:                                             Walrath, Jennifer M.
Subject:                                        Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                                GBL-BMK


Thank you for your letter dated April 6, 2015. This office respectfully declines to waive legislative privilege or any other
applicable privilege. Thank you.

On Mon, Apr 6, 2015 at 7:13 PM, Walrath, Jennifer M. <jwalrath@bakerlaw.com> wrote:

Delegate Habeeb,



Please see the attached correspondence concerning the above-referenced matter.



Regards,

Jennifer



Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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of e-mail transmission.




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   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 10 of 31 PageID#
                                       409



From:                         Riley Ingram <DelRIngram@house.virginia.gov>
Sent:                         Friday, April 03, 2015 3:53 PM
To:                           Walrath, Jennifer M.
Subject:                      House of Delegates Redistricting Plan




Dear Ms. Walrath:

  This email is to serve as my response in reference to the Bethune‐Hill, et al.v Virginia Board of
Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK case. I wish to assert my legislative privilege and I
will not be waiving my privilege in this case.

  Thank you for your assistance and please let me know if you need anything further from me.

Sincerely,

Riley E. Ingram
Delegate, 62nd District
Virginia House of Delegates
DelRIngram@house.virginia.gov
804/452‐2202 District Office




                                                     1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 11 of 31 PageID#
                                       410



From:                              Steve Landes <steve@stevelandes.com>
Sent:                              Friday, April 03, 2015 2:06 PM
To:                                Walrath, Jennifer M.; RSpear@perkinscole.com
Cc:                                steve@stevelandes.com
Subject:                           Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-GBL-
                                   BMK


Dear Ms. Walrath and Mr. Spear:

In regards to the above case and the request to certain members of the Virginia House of Delegates for emails, I do
hereby assert my legislative privilege to withhold or turn over any emails regarding this request for this case. Please
acknowledge receipt of this email, and confirm by email. Thank you.

R. Steven (Steve) Landes
Member, House of Delegates
District: 540.255.5335
Richmond: 804.698.1025
steve@stevelandes.com
www.stevelandes.com




                                                             1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 12 of 31 PageID#
                                       411



From:                           Jim LeMunyon <jim.lemunyon@gmail.com>
Sent:                           Monday, April 06, 2015 6:23 PM
To:                             Walrath, Jennifer M.; rspear@perkinscoie.com
Subject:                        Bethune-Hill, et al. v. Virginia Board of Election



Dear Jennifer and Ryan,

Having reviewed the email message with attachment I received from your respective law firms on April 2, 2015
regarding the above referenced case, and having reviewed a single email message provided to me by Jennifer
that is considered to be a subject of the attachment, and noting this email message was not written by me nor is
it regarding the 67th legislative district I represent, I hereby assert my legislative privilege to NOT grant a
waiver, thereby requiring this email message NOT be provided to plaintiff's counsel.

Please let me know if you have any questions.

Jim LeMunyon
Member, Virginia House of Delegates
67th District




                                                           1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 13 of 31 PageID#
                                       412



From:                               Scott Lingamfelter <slingamfelter@comcast.net>
Sent:                               Wednesday, April 08, 2015 2:48 PM
To:                                 Walrath, Jennifer M.; RSpear@perkinscoie.com
Cc:                                 'Kathy Roberts'; 'Bill Howell (P)'; 'S. Chris Jones'; Terry Durkin
Subject:                            Bethune-Hill v. Virginia State Board of Elections

Importance:                         High


Dear Mr. Braden and Mr Elias,

This is to inform you that I am asserting my legislative privilege and will not be waiving my legislative privilege in the
case of Bethune‐Hill v. Virginia State Board of Elections, No. 3:14‐cv‐00852, currently pending in the U.S. District Court
for the Eastern District of Virginia. To be perfectly clear, in asserting my legislative privilege in this matter and I do not
want my emails or other documents to be turned over to the plaintiffs in the case.

Sincerely,


Scott
L. Scott Lingamfelter
Colonel, US Army (Ret)
Delegate, 31st District
Virginia House of Delegates
5420 Lomax Way
Woodbridge, Virginia 22193
(703) 580-8899 (Home)
(703) 580-1294 (District Office)
(703) 590-7090 (Fax)
slingamfelter@comcast.net (Email)
www.ScottforVA.com (Delegate Website)


                                        Authorized and Paid for by Friends of Scott Lingamfelter




                                                                   1
    Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 14 of 31 PageID#
                                        413



From:                                           Danny Marshall <DelDMarshall@house.virginia.gov>
Sent:                                           Tuesday, April 07, 2015 5:07 PM
To:                                             Walrath, Jennifer M.
Cc:                                             Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                                        Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                                GBL-BMK



To All Concerned:
By this email I assert my legislative privilege to not surrender documents in the current case as listed. Please
let me know if you need any additional information at this time in this regard.

Danny Marshall
Delegate, 14th House District
Office: 434‐797‐5861


From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Wednesday, April 1, 2015 12:18 PM
To: Danny Marshall
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Marshall,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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                                                                           1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 15 of 31 PageID#
                                       414



From:                                Delegate Massie <jpm.72@house.virginia.gov>
Sent:                                Tuesday, April 07, 2015 10:25 PM
To:                                  Walrath, Jennifer M.; rspear@perkinscoie.com
Cc:                                  Jimmie P Massie
Subject:                             Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                     GBL-BMK
Attachments:                         Joint Letter to Delegates (Apr. 6, 2015) copy.pdf


Ms. Walrath and Mr. Spear:

Per our emails below and your attached letter, I am asserting my legislative privilege and I will not be waiving said legislative
privilege with respect to my email communications in this case.

Very truly yours,

Jimmie
James P. "Jimmie" Massie, III
72nd District House of Delegates
Henrico County

From: Jimmie Massie <jpm.72@house.virginia.gov>
Date: Tuesday, April 7, 2015 9:59 AM
To: "jwalrath@bakerlaw.com" <jwalrath@bakerlaw.com>, "rspear@perkinscoie.com" <rspear@perkinscoie.com>
Cc: Jimmie P Massie <DelJMassie@house.virginia.gov>
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Ms. Walrath and Mr. Spear:

This email will serve as my INITIAL response to your email below and letter attached:


    1. I reserve my right to retain and consult with my own legal counsel;
    2. Given that I have not retained, nor consulted with my own legal counsel (or any other counsel…legal or other), I do
       not, at this time, assert or waive my legislative privilege in this case. As such, going forward, I solely retain the right to
       assert or waive my legislative privilege. I ask that you, Intervenors' counsel, continue "withholding these emails on the
       basis of legislative privilege" until I assert or waive my legislative privilege to them;
    3. Sending me the below email at 7:12 PM on Tuesday, April 6, 2015 and asking me to respond "no later than noon on
       April 10, 2015", or in 3.5 days is an unreasonable request (and I, as a legal layman, would initially think it is legally
       unenforceable). Your request is especially unreasonable given that it is the week after Easter when so many (including
       lawyers) are on Spring Break and I do not posses (much less my legal counsel posses) my "responsive" emails that are
       the subject of your discovery;
    4. Per your letter attached, I "would like to see (possesses in digital form per me) any (all per me) emails sent to or from
       you (me per me) deemed responsive so far". Please email me, all my "responsive" emails at this email address with a
       Cc to deljmassie@house.virginia.gov. Please also email me any "additional responsive documents after the date of
       this correspondence";
    5. With respect to future communication, please use jpm.72@house.virginia.gov as my primary email address and
       always Cc deljmassie@house.virginia.gov.

Please acknowledge receipt of this email via reply email.

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    Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 16 of 31 PageID#
                                        415

Very truly yours,

Jimmie

James P. "Jimmie" Massie, III
72nd District House of Delegates
Henrico County

From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Monday, April 06, 2015 7:12 PM
To: Jimmie P Massie
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Massie,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 17 of 31 PageID#
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Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 18 of 31 PageID#
                                    417
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 19 of 31 PageID#
                                       418



From:                    Joe May <joetmay@aol.com>
Sent:                    Monday, April 06, 2015 1:07 PM
To:                      Walrath, Jennifer M.; RSpear@perkinscoie.com
Subject:                 Letter of Intent (Bethune-Hill v. Virginia State Board of Elections)
Attachments:             Bethune_Hill_v_SBE.pdf



See attached letter

Joe T. May
EIT, LLC
108 Carpenter Dr.
Sterling, VA 20164
(703) 478-0700




                                                    1
Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 20 of 31 PageID#
                                    419



                                      Joe T. May
                                 40354 Foxfield Lane
                                 Leesburg, VA 20175

                                         April 6, 2014




   Baker Hostetler LLP
   jwalrath@bakerlaw.com
   Perkins Coie LLP
   RSpear@perkinscoie.com

                      RE: Bethune-Hill v. Virginia State Board of Elections

   To Whom It May Concern:

   I am receipt of documentation regarding the above stated ligation pending in federal
   court. I take this means to let you know that I am asserting my legislative privilege and
   will not be waiving my privilege in this case.

                                     Truly yours,




                                     Joe T. May
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 21 of 31 PageID#
                                       420



From:                              Delores L McQuinn <DelDMcQuinn@house.virginia.gov>
Sent:                              Tuesday, April 07, 2015 12:12 PM
To:                                Walrath, Jennifer M.; RSpear@perkinscoie.com; Braden, E. Mark
Subject:                           Response


Good afternoon everyone
This email is to inform all parties, Delegate McQuinn will not waive her legislative privilege concerning her emails.
Thanks.



Keith Westbrook
Legislative Assistant
Delegate Delores L. McQuinn
804‐698‐1270 or 804‐301‐0671




                                                             1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 22 of 31 PageID#
                                       421



From:                            Jackson H Miller <DelJMiller@house.virginia.gov>
Sent:                            Friday, April 03, 2015 2:23 PM
To:                              Walrath, Jennifer M.; rspear@perkinscoe.com
Subject:                         Legislative Privilege



To Whom It May Concern:

This email is to request that the office of Delegate Jackson Miller intends to assert the legislative privilege.

If there are any questions or concerns, please do not hesitate to reach out to my office.

Best,

Jackson Miller


-----------------------------
Jackson H. Miller
Majority Whip
Virginia House of Delegates
50th District
703-244-6172




                                                          1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 23 of 31 PageID#
                                       422



From:                         johnobannon@comcast.net
Sent:                         Monday, April 06, 2015 11:32 PM
To:                           Walrath, Jennifer M.; RSpear@perkinscoie.com
Cc:                           Bill Howell; Kirk Cox; S. Chris Jones; Kathy Roberts
Subject:                      Legislative Privilege for Del. John O'Bannon



By this email I assert my legislative privilege to not surrender documents in the current case as listed.

Please let me know if you need any additional information at this time in this regard.

Del. John M. O'Bannon




                                                        1
   Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 24 of 31 PageID#
                                       423



From:                            Chris Peace <DelCPeace@house.virginia.gov>
Sent:                            Tuesday, April 07, 2015 11:36 AM
To:                              Walrath, Jennifer M.; RSpear@perkinscoie.com
Subject:                         Legislative Privilege



Dear Counselors:

By this email I assert my legislative privilege to not surrender documents in the case titled Bethune-Hill, et al. v.
Virginia Board of Elections, et al. Please let me know if you need any additional action from me regarding your
request at this time.

Thank you for your correspondence.

Chris Peace

Delegate Christopher K. Peace
Virginia House of Delegates
97th District
804-698-1097-Capitol
804-730-3737-District
delcpeace@house.virginia.gov
www.chrispeace.com




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    Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 25 of 31 PageID#
                                        424



From:                                         Brenda L Pogge <DelBPogge@house.virginia.gov>
Sent:                                         Wednesday, April 08, 2015 3:44 PM
To:                                           Walrath, Jennifer M.
Cc:                                           Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                                      RE: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                              GBL-BMK
Attachments:                                  20150408 Attorney Response.pdf


Good afternoon,

Attached please find Delegate Pogge’s response to your April 6 inquiry.

Sincerely,

Amanda Johnston
Legislative Assistant
Delegate Brenda L. Pogge
96th District, Virginia House of Delegates
757.223.9690
www.brendapogge.com




From: Walrath, Jennifer M. [mailto:jwalrath@bakerlaw.com]
Sent: Monday, April 06, 2015 7:13 PM
To: Brenda L Pogge
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-GBL-BMK

Delegate Pogge,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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    Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 26 of 31 PageID#
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    Case 3:14-cv-00852-REP-AWA-BMK Document 50-2 Filed 04/21/15 Page 28 of 31 PageID#
                                        427



From:                                           Ed Scott <DelEScott@house.virginia.gov>
Sent:                                           Wednesday, April 08, 2015 5:56 PM
To:                                             Walrath, Jennifer M.
Cc:                                             Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                                        Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                                GBL-BMK



I hereby assert my legislative privilege with regard to this matter. I will not waive legislative privilege.

Ed Scott
Delegate, 30th District

From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Monday, April 6, 2015 7:13 PM
To: Ed Scott
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate Scott,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer

Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
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From:                                   carmen.bingham@gmail.com on behalf of DelDToscano@house.virginia.gov
Sent:                                   Friday, April 10, 2015 10:24 AM
To:                                     Walrath, Jennifer M.; melias@perkinscoie.com
Cc:                                     rspear@perkinscoie.com; Braden, E. Mark
Subject:                                Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                        GBL-BMK
Attachments:                            walrathelias.response.040915.pdf



Attached please find a response from Delegate David Toscano.

Thank you.


******************************************************************************************
**********
Office of Delegate David J. Toscano
Virginia House of Delegates, 57th District
House Democratic Leader
211 East High Street
Charlottesville, VA 22902
(434) 220-1660
davidtoscano.com

On Mon, Apr 6, 2015 at 7:12 PM, Walrath, Jennifer M. <jwalrath@bakerlaw.com> wrote:

Delegate Toscano,



Please see the attached correspondence concerning the above-referenced matter.



Regards,

Jennifer




Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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